      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 1 of 40




                    UNITED STATES FEDERAL COURT
                                 FOR
                   THE DISTRICT OF MASSACHUSETTS

                                                       Civil Complaint No.
James W. Cauger,

PLAINTIFF

VS.

Texas Instruments Incorporated

and

John Doe,

        DEFENDANTS


                     SECOND AMENDED COMPLAINT


        NOW COMES the Plaintiff, James W. Cauger and alleges as follows:


                                  PLAINTIFF

                              JAMES W CAUGER

1.      The Plaintiff, James W. Cauger, currently resides at 37 Frog Pond Close,

        Mashpee, MA 02649.

2.      James Cauger was employed by General Plate Company from January 1,

        1957 to December 31, 1957 and Texas Instruments Inc. from January 1, 1958

        to April 15, 1959 and as a direct and proximate result of the Defendant's

        conduct, was exposed to enriched uranium and other radioactive materials

                                        1
	
     Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 2 of 40



       while occupying the property to attend his job at the Forest Street

       manufacturing facility ("Forest Street Facility") in Attleboro, Massachusetts.

3.     As a direct and proximate result of the Defendant's conduct, James Cauger

       developed cancer of the pharynx, squamous cell carcinoma (SCC) of the

       tongue, left cheek, glossotonisillar sulcus, left retro molar trigon and left hard

       palate was diagnosed on or about June 28, 2013. James Cauger has also

       developed Peripheral Neuropathy in the legs and feet that were medically

       determined to not be the result of diabetes.

4.     James Cauger suffered these injuries as a direct and proximate result of the

       Defendant's conduct.

                                   DEFENDANT

5.     The Defendant, Texas Instruments Incorporated, is a Delaware corporation

       with a principal place of business at 12500 TI Boulevard, Dallas, Texas

       75243.

6.     Texas Instruments Incorporated, a Delaware corporation was organized

       December 23, 1938.

7.     Texas Instruments, Inc., was a Massachusetts corporation organized in

       January 1970.

8.     General Plate was a company located in Attleboro, Massachusetts as early as

       the late 1920’s.      General Plate Company was acquired by Spencer

       Thermostat Company.



                                           2
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 3 of 40



9.      Spencer Thermostat Company was located in Cambridge, Massachusetts as

        at least as early as the 1930’s. Spencer Thermostat Company was acquired

        by Metals and Controls Corporation.

10.     Metals & Controls Corporation was a Massachusetts corporation organized

        on or before January 6, 1931.

11.     Metals and Controls Corporation was merged into Texas Instruments

        Incorporated on April 10, 1959.

12.     M & C Nuclear Inc. was a Massachusetts corporation organized on

        December 9, 1957. A name change was made on December 30, 1960 to

        Metals & Controls Inc. The corporate name was again changed to Texas

        Instruments Inc. on January 1, 1970.

13.     Texas Instruments Inc. merged into parent corporation Texas Instruments

        Incorporated on or about December 31, 1971, with Texas Instruments Inc.

        referencing its organization under the name of M & C Nuclear and a later

        name change to Metals and Controls Inc. on December 31, 1960 and then

        Texas Instruments Inc. on January 1, 1970.

14.     The Texas Instruments Inc. and Texas Instruments Incorporated Merger

        documents conflict with the Massachusetts Secretary of States records which

        indicate Metals and Controls Inc. was organized on June 25, 1959 and later

        involuntarily dissolved on December 31, 1990.




                                          3
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 4 of 40



15.     Texas Instruments Inc., Metals & Controls Corporation, Metals & Controls

        Inc., M & C Nuclear, Inc., Spencer Thermostat Company and General Plate

        are all predecessors of the Texas Instruments Incorporated.

16.     Texas Instruments Incorporated received all assets and assumed all liabilities

        of the companies acquired and herein are referred to collectively as

        “Defendant”.

17.     Defendant John Doe (“Doe”) is unknown entities that acted in concert with

        Defendant Texas Instruments Incorporated to improperly handle and dispose

        of radioactive materials and other hazardous substances.

                            JURISDICTION AND VENUE

18.     This Court has jurisdiction over the subject matter of this action over the

        Defendants pursuant to 28 U.S.C. § 1332 (diversity jurisdiction) as the matter

        in controversy exceeds $75,000, exclusive of interest and costs, and because

        the Defendant is a foreign corporation based outside of the Commonwealth

        of Massachusetts.

19.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b),

        1391(c) and 1395, because a substantial part of the events that give rise to

        these claims have occurred in this district and the threatened or actual

        releases of radiation and hazardous substances occurred in this district.

20.     All the parties named herein have sufficient minimum contacts with the

        Commonwealth of Massachusetts to render them subject to its jurisdiction.



                                           4
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 5 of 40



         GENERAL FACTUAL ALLEGATIONS FOR ALL COUNTS

21.     Metals and Controls Corporation acquired a large portion the Forest Street

        manufacturing facility (hereinafter referred to as the "Forest Street Facility"),

        consisting of over ten buildings on over two hundred and sixty acres in

        Attleboro, Massachusetts, on March 18, 1932.             Metals and Controls

        Corporation acquired additional portions of the Forest Street Facility on

        January 15, 1948, February 3, 1948, April 12, 1950 and June 30, 1950

22.     Metals & Controls Inc. acquired the Forest Street Facility on or about January

        3, 1961 by deed recorded in the Taunton Registry of Deeds in Book 1376 at

        Page 300 from Texas Instruments Incorporated claiming title through

        Articles of Consolidation with Metals & Controls Corporation recorded in

        Book 1316 at Page 152.

23.     Texas Instruments Inc. claims to acquire the Forest Street Facility on January

        1, 1970 as a result of its name change from Metals & Controls Inc. to Texas

        Instruments Inc.

24.     Texas Instruments Incorporated acquires the Forest Street Facility on

        December 31, 1971 through its merger with Texas Instruments Inc.

25.     Texas Instruments Incorporated re-acquires the Forest Street Facility on

        February 28, 1980 by deed recorded in the Taunton Registry of Deeds in

        Book 1995 at Page 170.

26.     Metals and Controls Corporation, Metals and Controls Inc., M & C Nuclear

        Inc., General Plate Company and Spencer Thermostat Company, Texas

                                            5
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 6 of 40



        Instruments Incorporated and Texas Instruments Inc. were all separate and

        distinct legal entities that at various times conducted their business

        operations out the Forest Street Facility.    Although these entities were

        eventually merged with or acquired by Texas Instruments Incorporated, prior

        to the time of each merger, the Defendant was the property owner and

        landlord of the Plaintiff’s employer. The Defendant as landowner and

        landlord failed to maintain the property and take reasonable steps to avoid

        injury to the Plaintiff.

27.     Metals and Controls Corporation, Metals & Controls Inc., Texas Instruments

        Inc. and Texas Instruments Incorporated were at various pertinent times

        hereto, the landowners of the Forest Street Facility and the landlord to the

        other corporate tenants of the Forest Street Facility during their respective

        terms of ownership.

28.     The Defendant was aware of the operations with radioactive materials that

        began at the Forest Street facility in 1952, when Metals & Controls Inc.

        began fabricating enriched uranium foils at its manufacturing facility on

        Forest Street in Attleboro, Massachusetts.     Despite its knowledge, the

        Defendant failed to keep the property safe and take reasonable steps to

        protect all occupants and intentionally kept secret the existence of these

        unsafe materials, failing to disclose same, and inform and protect all

        occupants.

29.     The Defendant was aware that from 1952 through 1965, under a variety of

                                          6
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 7 of 40



        government contracts, the Forest Street Facility was use to fabricate enriched

        uranium fuel elements for the U.S. Naval Reactors Program, the U.S. Air

        Force, other U.S. Government funded research, as well as commercial

        customers. Despite its knowledge, the Defendant failed to keep the property

        safe and take reasonable steps to protect all occupants and intentionally kept

        secret the existence of these unsafe materials, failing to disclose same, and

        inform and protect all occupants.

30.     The Defendant was aware that from 1965 through 1981, fuel for the High

        Flux Isotope Reactor at Oak Ridge National Laboratory and other

        Government owned research reactors was also fabricated at the Forest Street

        facility. Depleted uranium and processed natural uranium was also present

        and used at the Forest Street Facility for research and development. Despite

        its knowledge, the Defendant failed to keep the property safe and take

        reasonable steps to protect all occupants and intentionally kept secret the

        existence of these unsafe materials, failing to disclose same, and inform and

        protect all occupants.

31.     The Defendant was aware that Thorium foil strips were also present at the

        Forest Street facility for criticality experiments, source tests, and reactivity

        tests. The Thorium was vacuum-melted and cast into flat ingots and

        subsequently the ingots were rolled to the desired thickness at the Forest

        Street facility. Despite its knowledge, the Defendant failed to keep the

        property safe and take reasonable steps to protect all occupants and

                                            7
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 8 of 40



        intentionally kept secret the existence of these unsafe materials, failing to

        disclose same, and inform and protect all occupants.

32.     The Defendant was aware of the various contracts with the United States,

        including the Atomic Energy Commission ("AEC") and its contractors were

        performed at the Forest Street Facility. Under these contracts, nuclear fuel

        core components were manufactured at the Forest Street facility in Attleboro,

        Massachusetts. Despite its knowledge, the Defendant failed to keep the

        property safe and take reasonable steps to protect all occupants and

        intentionally kept secret the existence of these unsafe materials, failing to

        disclose same, and inform and protect all occupants.

33.     The Defendant was aware that radioactive materials were present at the

        Forest Street Facility under various commercial contracts as well as contracts

        with the United States until approximately 1981. Despite its knowledge, the

        Defendant failed to keep the property safe and take reasonable steps to

        protect all occupants and intentionally kept secret the existence of these

        unsafe materials, failing to disclose same, and inform and protect all

        occupants.

34.     The Defendant was aware that work under these contracts involved the use

        of radioactive materials such as Uranium-234 (U-234), Uranium-235 (U-

        235), and Uranium-238 (U-238). Depleted uranium and U-235 in varying

        levels of enrichment and thorium were also used and generated by the

        Defendant and its merged entities at the Forest Street Facility. Despite its

                                          8
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 9 of 40



        knowledge, the Defendant failed to keep the property safe and take

        reasonable steps to protect all occupants and intentionally kept secret the

        existence of these unsafe materials, failing to disclose same, and inform and

        protect all occupants.

35.     Defendant was aware of operations at the Forest Street Facility that also

        involved the manufacturing of items such as thermostats and circuit breakers

        that contained Radium-226 (R-226). Despite its knowledge, the Defendant

        failed to keep the property safe and take reasonable steps to protect all

        occupants and intentionally kept secret the existence of these unsafe

        materials, failing to disclose same, and inform and protect all occupants.

36.     The Defendant was aware that the work related to radioactive materials was

        conducted in at least three buildings at the Forest Street Facility.

37.     The Defendant was aware that operations took place which involved housing

        radioactive materials in the Forest Street Facility Building 4 and Building 3.

38.     The Defendant, in 1956, constructed Building 10 to also house the

        manufacturing work involving radioactive materials. In 1957, the work

        involving radioactive materials was consolidated to that location.

39.     The Defendant was aware that waste, processed scraps of metal and other

        residues, including those from the treatment with waste acids and water

        resulted in contamination of these areas both inside and outside the areas

        known as the Metals Recovery Area and the Stockade. The Defendant was

        aware that a waste evaporator and incinerator was operated in Building 5.

                                            9
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 10 of 40



40.     The Defendant was aware that scrap and waste was generated by the

        manufacturing processes that took place on the property and that these waste

        materials were supposed to be returned to the U.S. Government. The

        Defendant was aware that waste materials were negligently buried on the

        Forest Street Facility and thereby contaminated property in a burial area

        adjacent to Building 11 with levels of radioactivity. Despite its knowledge,

        the Defendant failed to keep the property safe and take reasonable steps to

        protect all occupants and intentionally kept secret the existence of these

        unsafe materials, failing to disclose same, and inform and protect all

        occupants.

41.     The Defendant was aware that one or more tenants at the Forest Street

        Facility held U-234, U-235, and U-238 at the Forest Street Facility. Despite

        its knowledge, the Defendant failed to keep the property safe and take

        reasonable steps to protect all occupants and intentionally kept secret the

        existence of these unsafe materials, failing to disclose same, and inform and

        protect all occupants.

42.     The Defendant was aware that one or more tenants of the Forest Street

        Facility used R-226 in its manufacturing processes at the Forest Street

        Facility. Despite its knowledge, the Defendant failed to keep the property

        safe and take reasonable steps to protect all occupants and intentionally kept

        secret the existence of these unsafe materials, failing to disclose same, and

        inform and protect all occupants.

                                            10
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 11 of 40



43.     The Plaintiff agreed to take his job in the Forest Street Facility to further his

        career and family.

44.     The Plaintiff was never informed by the landowners of the presence of any

        of these toxic and hazardous substances and in fact was deliberately and

        intentionally not informed of the presence of these substances at the Forest

        Street facility. The Defendant failed to keep the property safe and take

        reasonable steps to protect all occupants and intentionally kept secret the

        existence of these unsafe materials, failing to disclose same, and inform and

        protect all occupants.

45.     The Defendant never warned the Plaintiff of the dangers of being exposed to

        enriched uranium, thorium, and other radioactive materials on the Forest

        Street Facility.

46.     The Plaintiff was exposed to toxic and hazardous substances due to careless

        radiation health safety protection protocols and program.

47.     The Defendant was aware that one or more of the tenants were at times cited

        for its negligent practices as they were in violation of the Atomic Energy

        Commission and Nuclear Regulatory Commission regulations.

48.     The Defendant was negligent and breached its duty to keep the grounds of

        the Forest Street facility safe for the Plaintiff to occupy as an employee of its

        tenant.

49.     The Plaintiff had no reason to believe that there was any danger in going to

        and from and entering onto the Forest Street facility and had no knowledge

                                           11
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 12 of 40



        of the enriched uranium and other radioactive materials stored there. The

        Defendant failed to keep the property safe and take reasonable steps to

        protect all occupants and intentionally kept secret the existence of these

        unsafe materials, failing to disclose same, and inform and protect all

        occupants.

50.     The Plaintiff had no reason to believe that the property where his job was

        located, posed a potential threat to his health, as the Defendant never warned

        him of the health risks present on the property.

51.     The Defendant never took adequate steps to maintain the property in a safe

        condition and protect the Plaintiff from the dangers of being present around

        enriched uranium and other radioactive materials, and thus the Defendant

        was grossly negligent and breached its duty to the Plaintiffs.

52.     The Defendant, as landowner had a duty to ensure that all occupants

        employed radiation Health Safety methods and protocols that minimized

        radiation doses and the release of radioactive materials safeguarding the

        other tenants and occupants of the property.

53.     The Defendant failed to employ or require its tenant to employ Health Safety

        personnel adequately trained in radiation health physics to insure the safety

        of the Plaintiff, and thus it was grossly negligent and breached its duty to the

        Plaintiff.

54.     The Defendant failed to establish and enforce an adequate radiation health

        physics protocol in accordance with Atomic Energy Commission ("AEC"),

                                           12
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 13 of 40



        Nuclear Regulatory Commission ("NRC"), and other applicable regulatory

        body regulations, and thus the Defendant was grossly negligent and breached

        its duty to the Plaintiff as an occupant of the property.

55.     At the time of the Plaintiffs occupancy at the Forest Street Facility, basic

        radiation health safety policies and applicable regulations required that all

        those persons exposed to radiation be monitored with appropriate dosimeter

        techniques and use appropriate bioassays to ensure that the radiation dose

        exposure levels allowed for exposed individuals was limited.

56.     The Plaintiff was exposed daily to radioactive material and contamination

        and other toxic chemicals daily going and coming to the Forest Street

        Facility. The Defendant did not regularly monitor the radiation exposure of

        occupants of the Forest Street Facility, its grounds, and thus the Plaintiff, all

        passersby, invited guests and other nearby landowners were exposed

        radioactive material and contamination and other toxic chemicals daily and

        thus the Defendant was grossly negligent and breached its duty to the

        Plaintiff.

57.     The Defendant was aware that basic radiation health safety policies and

        applicable regulations required those individuals exposed to radioactive

        material to wear protective clothing and use shielding to decrease the

        exposure of radiation and to reduce radioactive contamination.

58.     The Defendant was aware that protective clothing and shielding apparatus

        was not provided to occupants of the Forest Street Facility, passersby, or

                                           13
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 14 of 40



        other invited guests in an effort reasonably and effectively decrease exposure

        to radiation and to reduce radioactive contamination. The Defendant failed

        to keep the property safe and take reasonable steps to protect all occupants

        and intentionally kept secret the existence of these unsafe materials, failing

        to disclose same, and inform and protect all occupants. The Defendant failed

        to ensure such techniques were employed by all tenants to protect occupants

        of the Forest Street Facility, passersby, other invited guests or nearby

        landowners.

59.     The Defendant was aware that basic radiation health safety policies and

        applicable regulations required radiation workers to increase their distance

        to radioactive sources to decrease the exposure of radiation workers. The

        Defendant failed to ensure such techniques were employed by all tenants to

        protect occupants of the Forest Street Facility, passersby, other invited guests

        or nearby landowners.

60.     The Defendant failed to protect occupants of the Forest Street Facility,

        passersby, other invited guests or nearby landowners as it allowed the

        Plaintiff to come in direct contact with radioactive sources, increasing his

        exposure to radiation and increasing radioactive contamination, and thus they

        were grossly negligent and breached its duty to the Plaintiff.

61.     The Defendant was aware of the areas where radioactive material was located

        but failed to warn the Plaintiff or provide proper warnings or restrictions.



                                           14
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 15 of 40



62.     Basic radiation health safety policies and applicable regulations required

        radiation workers to minimize the time of exposure to radioactive sources

        and to reduce the exposure of radiation workers.

63.     The Defendant never employed protocols that minimized the time of the

        Plaintiffs' exposure to radioactive sources to thereby reduce the Plaintiffs'

        exposure to radiation, and thus they were grossly negligent and breached its

        duty to the Plaintiff.

64.     The Defendant employed policies and protocols that were contrary to the

        health and safety of the Plaintiff who was being exposed to radioactive

        material, and, in fact increased his radiation doses, breaching its duty to

        maintain the property in a safe condition for the Plaintiff.

65.     The Defendant as landowner never made any attempts to stop the improper

        disposal of radioactive material on the grounds of the Forest Street Facility

        despite the property being occupancy by thousands of unknowing victims.

66.     The Defendant was aware that one or more of its tenants buried wastes from

        their manufacturing operations and improperly disposed of radioactive

        materials by burying them in an outdoor area next to Building 11 and at the

        Building 1 location. The Defendant failed to take any steps taken to remove

        the buried radioactive material. Because of the Defendant’s failure to

        maintain the property in a safe condition, the Defendant was grossly

        negligent and breached its duty to the Plaintiff. The Plaintiff was exposed



                                           15
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 16 of 40



        daily to radioactive material and contamination and other toxic chemicals

        daily going and coming to the Forest Street Facility.

67.     The Defendant was aware that all parts of the Forest Street Facility were

        exposed to unmonitored radioactive materials. The roadways in the Forest

        Street Facility were used by the occupants to not only enter and exit the

        property for purposes of reporting to work, but were often used daily to pass

        from the Forest Street area to the Pleasant Street area. The Defendant failed

        to post warning signs or notify the Plaintiff as to the danger and exposure to

        radiation which resulted from his daily use of these roadways.

68.     The Defendant was aware that there was extensive radioactive contamination

        at the Forest Street Facility in addition to significant concentrations of PCB's

        volatile organic compounds and dangerous heavy metals. The Defendant

        failed to post warning signs or notify the Plaintiff as to the danger and

        exposure to radiation and significant concentrations of PCB’s which resulted

        from his daily use of these roadways.

69.     Despite being aware of the extensive radioactive contamination at the Forest

        Street Facility in addition to significant concentrations of PCB's volatile

        organic compounds and dangerous heavy metals, the Defendant failed to take

        steps to begin until 1981 when the nuclear operations ceased, and the site's

        government license to manufacture nuclear materials lapsed. The Defendant

        continued to fail to post warning signs or notify the Plaintiff as to the danger

        and exposure to radiation and significant concentrations of PCB’s which

                                           16
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 17 of 40



        resulted from his daily use of the grounds and the roadways despite its

        knowledge of the dangers to the Plaintiff.

70.     The decontamination of the Forest Street Facility by the Defendant was not

        completed until at least 1997. The Defendant continued to fail to post

        warning signs or notify the Plaintiff as to the danger and exposure to radiation

        and significant concentrations of PCB’s which resulted from his daily use of

        the grounds and the roadways despite its knowledge of the dangers to the

        Plaintiff.

71.     Despite the Defendant's clean-up of the grounds of the Forest Street Facility,

        the Plaintiff, including, but not limited to those who handled and fabricated

        nuclear fuels and switches, disposed of scrap and performed laboratory

        testing, and others who simply frequented the grounds of the Forest Street

        facility, long after carried in his body the effect of his exposure to radioactive

        materials and other substances at the Forest Street Facility, grounds and

        roadways.

72.     The Defendant did not inform the Plaintiff of his exposure to enriched

        uranium and other radioactive materials at the time of his exposure or at any

        date reasonably soon thereafter, thereby exacerbating the health

        consequences and thus the Defendant was grossly negligent and breached its

        duty to the Plaintiff.

73.     The Defendant did not make adequate attempts to reach out to the Plaintiff

        to inform him of his exposure to enriched uranium and other radioactive

                                            17
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 18 of 40



        materials, thereby exacerbating the health consequences and thus the

        Defendant was grossly negligent and breached its duty to the Plaintiff.

74.     The Defendant sold the Forest Street Facility and manufacturing complex in

        2004 but has never made adequate attempts to contact the Plaintiff or his

        family members to disclose the Plaintiffs exposure to radioactive materials

        or other substances.

75.     The Shpack Landfill (hereinafter “Landfill”) located in the City of Attleboro

        and the Town of Norton is comprised of approximately eight acres of land.

        The landfill received residential and commercial water until approximately

        1966.

76.     The Defendant dumped radioactive waste, cancer causing chemicals, and

        other toxic substances from the Defendant's Forest Street Facility at the

        Shpack landfill on the Norton-Attleboro line as well as at various other sites

        throughout the City of Attleboro.

77.     The Landfill is set in a rural area and surrounded by ponds and wetland areas

        approximately one and a half miles from the Texas Instruments Forest Street

        Facility.

78.     The Landfill was entirely open without fences or warning signs of the

        dangers present. There were no fences or warning signs of warning of the

        toxic waste at the site.

79.     The Nuclear Regulatory Commission and Oak Ridge National Laboratories

        began an investigation after a nearby resident discovered radioactive material

                                            18
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 19 of 40



        in the landfill.   Extensive radioactive contamination, including but not

        limited to Uranium and Radon was found at the Shpack Landfill. In 1981,

        the Department of Energy removed over nine hundred pounds of material

        contaminated with radioactive waste and other toxic chemicals with

        significant concentrations of PCBs, vinyl chloride, arsenic and other volatile

        compounds and heavy metals.

80.     In 1990, the Environmental Protections Agency reached an agreement with

        the Defendant would was deemed one of the responsible parties for the

        remediation of the site.

81.     The Plaintiff lived a short distance from both the Shpack Landfill and the

        Forest Street Facility. The Plaintiff often walked in the Shpack Landfill and

        Forest Street Facility areas. The Plaintiff was further exposed to the

        radioactive waste dumped at the former Shpack Landfill on his visits to the

        landfill to dispose of unwanted personal property, while at the same time

        collecting other old furniture and household items previously discarded to

        bring home. Open fires were often burning at the landfill and produced a

        thick smoke in the area.

82.     In addition to the exposure to radioactive materials suffered by the Plaintiff

        in his work duties during which he carried uranium fuel rods with

        unprotected hands, the back of Plaintiff’s residence was less than two

        thousand feet from the Forest Street Facility. The Plaintiff traversed the

        Forest Street Facility grounds several times daily when going to and from

                                          19
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 20 of 40



        work at the Forest Street facility. The Forest Street facility also served as a

        short cut from Forest Street to Pleasant Street by the Plaintiff and many area

        residents. The Plaintiff was exposed to radioactive waste and other toxic

        chemicals with significant concentrations of PCBs, vinyl chloride, arsenic

        and other volatile compounds and heavy metals while going to and from

        work as well as when using the Forest Street facility as a short cut from Forest

        Street to Pleasant Street.

83.     The Defendant invited the Plaintiff and his family to family outings held at

        the Forest Street facility. During these outings, the Defendant did not display

        warning signs of the radiation exposure to the attendees of these events held

        at the Forest Street Facility and its grounds, and thus the Plaintiff, and all

        invited guests were exposed radioactive material and contamination and

        other toxic chemicals and thus the Defendant was grossly negligent and

        breached its duty to the Plaintiff.



I.             FIRST CLAIM FOR RELIEF NEGLIGENCE/GROSS
               NEGLIGENCE

84.     The preceding Paragraphs are alleged and incorporated herein by reference

        as though set forth here in their entirety.

85.     At all relevant times, it was the duty of the Defendant to exercise a reasonable

        degree of care for the Plaintiff by preventing his exposure to radioactive




                                              20
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 21 of 40



        materials and other toxic and hazardous substances while occupying its

        property at the Forest Street Facility.

86.     At all relevant times, it was the duty of the Defendant to exercise a reasonable

        degree of care for the Plaintiff by appropriately warning them of the risks

        and hazards of their exposure to radioactive materials and other toxic and

        hazardous substances while occupying its property.

87.     At all relevant times, it was the duty of the Defendant to exercise a reasonable

        degree of care for the Plaintiff by appropriately handling and storing the

        radioactive materials and other toxic and hazardous substances at the Forest

        Street Facility.

88.     At all relevant times, it was the duty of the Defendant to exercise a reasonable

        degree of care for the Plaintiff by appropriately monitoring his exposure to

        radioactive materials and other toxic and hazardous substances occupying its

        property.

89.     The Defendant is grossly negligent and liable for failing to prevent the

        Plaintiffs' exposure to the radioactive materials and other toxic and hazardous

        substances at the Forest Street Facility.

90.     The Defendant is grossly negligent and liable for failing to warn the Plaintiff

        of the risks and hazards of their exposure to the radioactive materials and

        other toxic and hazardous substances at the Forest Street Facility.




                                           21
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 22 of 40



91.     The Defendant is grossly negligent and liable for its careless and improper

        handling and storing radioactive materials and other toxic and hazardous

        substances at the Forest Street Facility.

92.     The Defendant is grossly negligent and liable for its careless and improper

        handling and storing radioactive materials and other toxic and hazardous

        substances at the Forest Street Facility.

93.      The Defendant is grossly negligent and liable for its careless and improper

        monitoring of the Plaintiff’s exposure to radioactive materials and other toxic

        and hazardous substances while occupying its property.

94.     The Defendant is grossly negligent and liable for improperly disposing of

        radioactive materials and other toxic and hazardous substances, including but

        not limited to, burying said substances on the grounds of the Forest Street

        Facility and elsewhere in the City of Attleboro.

95.     The Defendant is grossly negligent and liable for failing to take reasonable

        and prompt action to contain and clean up the radioactive materials and other

        toxic and hazardous substances buried on the grounds of the Forest Street

        Facility.

96.     Defendant knowingly continued to manufacture, handle and dispose of

        radioactive materials, in an improper manner, and in willful, wanton, and

        reckless disregard for the safety and health of the Plaintiff while occupying

        the Forest Street Facility, as well as while using the grounds and roadways

        for his personal use.

                                           22
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 23 of 40



97.         The Defendant's pattern of conduct occurred over a lengthy period,

            evidencing a deliberate and intentional pattern and practice of failing to use

            reasonable care to protect all occupants of the Forest Street facility as well

            as passersby using the grounds, was with willful, wanton, and reckless

            disregard for the safety and health of the Plaintiff.

98.         As a direct and proximate cause of the Defendant's foregoing acts and

            omissions, the Plaintiff was unknowingly exposed to radioactive materials

            and other toxic and hazardous substances resulting in the Plaintiffs'

            development of devastating, debilitating and fatal cancers.



      II.       SECOND CLAIM FOR RELIEF NEGLIGENCE




99.         The preceding Paragraphs are alleged and incorporated herein by reference

            as though set forth here in their entirety.

100.        At all relevant times, it was the duty of the Defendant to exercise a reasonable

            degree of care when disposing of toxic materials, radioactive materials and

            other hazardous substances to prevent the residents in the Attleboro/Norton

            area from being exposed to these dangerous substances.

101.        At all relevant times, it was the duty of the Defendant to exercise a reasonable

            degree of care while disposing of materials at the Forest Street Facility and

            the Shpack Landfill, to post appropriate warning signs and segregate areas


                                               23
	
    Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 24 of 40



       by fence or otherwise to contain the hazardous waste and make it inaccessible

       by the public.

102.   At all relevant times, it was the duty of the Defendant to warn nearby

       residents of the dangers and hazards posed by the radioactive and toxic

       chemicals disposed of at the Forest Street Facility and the Shpack Landfill.

103.   The Defendant is liable for improperly transporting the radioactive and toxic

       chemicals to the Shpack Landfill in violation of Atomic Energy Commission

       regulations and Nuclear Regulatory Commission regulations.

104.   The Defendant is liable for failing to warn the residents who frequented the

       landfill or lived nearby, for failing to provide the necessary safeguards and

       security at the Forest Street Facility and the Shpack Landfill.

105.   As a direct and proximate result of the Defendant’s negligent acts and

       omissions, the Plaintiff was exposed to hazardous substances, including

       radioactive material, vinyl Chloride, and dangerous heavy metals because of

       which he developed devastating and debilitating cancer.




    III.    THIRD CLAIM FOR RELIEF NEGLIGENCE PER


106.   The preceding Paragraphs are alleged and incorporated herein by reference

       as though set forth here in their entirety.

107.   At all relevant times, it was the duty of the Defendant to exercise a reasonable

       degree of care for the Plaintiff by ensuring all its tenants followed the rules

                                          24
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 25 of 40



        and regulations of the AEC, the NRC, and other regulatory bodies with

        respect to radioactive materials and other toxic and hazardous substances

        being stored at its Forest Street Facility.

108.    During the 1950s, 1960s, 1970s, and 1980s, the Office of the AEC, the NRC,

        and other regulatory bodies found dissatisfaction with the criticality control,

        production control, and health physics administration employed by the

        Defendant and its tenants and cited the Defendant and its tenants for,

        including but not limited to, failing to comply with relevant radiation

        protection standards and nuclear reactor safety, public health and safety

        standards, and environmental protection.

109.    The Defendant's failure to abide by and ensure all tenants abide by the

        aforesaid rules and regulations is negligence per se.

110.     As a direct and proximate cause of the Defendant's foregoing acts and

        omissions, the Plaintiff was not properly informed or monitored, and thus,

        was exposed to radioactive materials and other toxic and hazardous

        substances, resulting in the Plaintiff's development of devastating and

        debilitating cancer.



IV.            FOURTH CLAIM FOR RELIEF ULTRA-HAZARDOUS
               ACTIVITY-STRICT LIABILITY

111.    The preceding Paragraphs are alleged and incorporated herein by reference

        as though set forth here in their entirety.


                                            25
	
    Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 26 of 40



112.   The Defendant act of allowing the manufacture, handling, and disposal of

       radioactive materials and other toxic and hazardous substances on its

       property located at the Forest Street facility constituted an ultra-hazardous

       activity.

113.   Because of the Defendant's act of allowing the manufacture, handling, and

       disposal of radioactive materials and other toxic and hazardous substances

       on its property located at the Forest Street facility, the Plaintiff was exposed

       to radioactive materials and other toxic and hazardous substances while

       occupying, passing by and otherwise frequenting the roadways and grounds

       located at the Forest Street Facility.

114.   Defendant is strictly liable for any harm caused by the abnormally dangerous

       activity described above pursuant to the doctrine of strict liability set forth in

       the Restatement (Second) of Torts.

115.   The manufacture, handling, and disposal of radioactive materials and other

       toxic and hazardous substances is an unreasonably dangerous activity,

       because exposure to these substances more likely than not caused the

       development of radiogenic cancers in humans.

116.   As a direct and proximate result of the Defendant's highly dangerous activity,

       as set forth above, the Plaintiff was not properly warned, monitored, or

       protected and thus, was exposed to radioactive materials and other toxic and

       hazardous substances.



                                           26
	
     Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 27 of 40



117.   As a direct and proximate result of the Defendant's highly dangerous activity,

       as set forth above, the Plaintiff has developed devastating and debilitating

       cancer.



V.            FIFTH CLAIM FOR RELIEF                     WILLFUL        AND
              WANTON MISCONDUCT

118.   The preceding Paragraphs are alleged and incorporated herein by reference

       as though set forth here in their entirety.

119.   At all times, relevant, the Defendant knew that the occupants of the facility

       were being exposed to radioactive materials and other toxic and hazardous

       substances.

120.   At all times, relevant, the Defendant was aware of the associated dangers and

       risks to the Plaintiff and the occupants and was aware exposure to radioactive

       materials and other toxic and hazardous substances was inadequately

       monitored.

121.   Despite knowledge of the associated dangers and risks to the Plaintiff and

       the occupants of the Forest Street facility from the inadequately monitored

       exposure to radioactive materials and other toxic and hazardous substances,

       the Defendants continued to allow tenants to manufacture, handle, and

       dispose of radioactive materials in an improper manner, and in willful,

       wanton, and reckless disregard for the safety and health of the Plaintiff and

       the occupants of the Forest Street facility.


                                          27
	
          Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 28 of 40



      122.   Despite knowledge of the associated dangers and risks to the Plaintiff and

             the occupants from the inadequately monitored exposure to radioactive

             materials and other toxic and hazardous substances, Defendant failed to warn

             the Plaintiff of the risks and hazards of his exposure to the radioactive

             materials and other toxic and hazardous substances at the Forest Street

             Facility.

      123.   As a direct and proximate result of the willful, wanton and reckless acts

             and/or omissions of the Defendant, the Plaintiff was not properly warned,

             monitored or protected and thus was exposed to radioactive materials and

             other toxic and hazardous substances.

      124.   As a direct and proximate result of the willful, wanton, and reckless acts

             and/or omissions of the Defendant, the Plaintiff has developed devastating

             and debilitating cancers.

      125.   Punitive damages are warranted where, as here, the Defendant's conduct was

             reckless and without due regard for the health, safety, and well-being of the

             Plaintiff and the Forest Street facility occupants.

      126.   Punitive damages are warranted where, as here, the Defendant's conduct is

             such that damages to punish and to deter in the future are indicated and

             appropriate.



VI.          SIXTH CLAIM FOR RELIEF BREACH OF FIDUCIARY
             DUTY


                                                28
      	
    Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 29 of 40



127.   The preceding Paragraphs are alleged and incorporated herein by reference

       as though set forth here in their entirety.

128.   At all times, relevant, the Defendant owed a fiduciary duty of care to the

       Plaintiff as an invited guest of its tenants to protect him from unreasonable

       dangers and risks, keep him safe from injury on the Defendant’s property, as

       well as inform him of any potential dangers while on the Defendant property.

129.   At all times, relevant, the Defendant possessed the knowledge and expertise

       to protect the Plaintiff from the unreasonable dangers and risks associated

       with their unmonitored and unknowing exposure to radioactive materials and

       other toxic and hazardous substances.

130.   At all times, relevant, the Defendant failed to maintain the property to a

       reasonable safety standard by ensuring all tenants employed properly trained

       radiation health safety officers or to employ the necessary procedures or

       protocols to protect the Plaintiff from the associated dangers and risks

       associated with his unmonitored and unknowing exposure to radioactive

       materials and other toxic and hazardous substances.

131.   At all times, relevant, the Defendant kept the Plaintiff’s exposure to

       radioactive materials and other toxic and hazardous substances a secret from

       the Plaintiff, thereby exacerbating his injury and breaching its fiduciary duty

       to the Plaintiff.

132.   At all times, relevant, the Defendant failed to ensure its tenants complied

       with standards, rules, and regulations issued by the Atomic Energy

                                          29
	
    Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 30 of 40



       Commission (AEC), the Nuclear Regulatory Commission (NRC), and other

       agencies, thereby breaching its fiduciary duty to the Plaintiff.

133.   As a direct and proximate result of the Defendant's breach its fiduciary duty

       to the Plaintiff, the Plaintiff was not properly informed, monitored, or

       protected and thus, he was exposed to radioactive materials and other toxic

       and hazardous substances.

134.   As a direct and proximate result of the Defendant's breach of its fiduciary

       duty to the Plaintiff, the Plaintiff has developed devastating and debilitating

       cancers.



VII.          SEVENTH CLAIM FOR RELIEF PREMISE LIABILITY

135.   The preceding paragraphs are incorporated herein by reference as though set

       forth here in their entirety.

136.   Metals and Controls Corporation, Metals & Controls Inc., Texas Instruments

       Inc. and Texas Instruments Incorporated were at various pertinent times

       hereto, the landowners of the Forest Street Facility and the landlord to the

       other corporate tenants of the Forest Street Facility during their respective

       terms of ownership.

137.   Metals and Controls Corporation acquired a large portion the Forest Street

       manufacturing facility (hereinafter referred to as the "Forest Street Facility"),

       consisting of over ten buildings on over two hundred and sixty acres in

       Attleboro, Massachusetts, on March 18, 1932.             Metals and Controls

                                          30
	
    Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 31 of 40



       Corporation acquired additional portions of the Forest Street Facility on

       January 15, 1948, February 3, 1948, April 12, 1950 and June 30, 1950. From

       March 18, 1932 to April 10, 1959, Metals and Controls Corporation owned

       the Forest Street facility. During this time, it was the duty of Metals and

       Controls Corporation to exercise reasonable care maintain the property in a

       safe condition with respect to individuals lawfully on the premises. During

       this time, Metals and Controls Corporation had a duty to warn individuals

       lawfully on the premises of unreasonable dangers present on the land of

       which Metals and Controls Corporation was aware. Metals and Controls

       Corporation was negligent and liable for its failure to exercise reasonable

       care with respect to the Plaintiff by allowing his continued exposure to

       radioactive materials as well as to other toxic and hazardous substances while

       the Plaintiff was lawfully present at the Forest Street Facility. Metals and

       Controls Corporation was negligent and liable for its failure to warn the

       Plaintiff of the risks and hazards associated with his exposure to radioactive

       materials as well as other toxic and hazardous substances while the Plaintiff

       was lawfully present at the Forest Street Facility. Metals and Controls

       Corporation was negligent and liable for its failure to take reasonable and

       prompt action to contain and clean up the radioactive materials as well as

       other toxic and hazardous substances present at the Forest Street Facility.

138.   Texas Instruments Incorporated claimed title of the Forest Street Facility

       through Articles of Consolidation with Metals & Controls Corporation on or

                                         31
	
    Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 32 of 40



       about April 10, 1959. From April 10, 1959 to January 3, 1961, Texas

       Instruments Incorporated owned the Forest Street facility. During this time,

       it was the duty of Texas Instruments Incorporated to exercise reasonable care

       maintain the property in a safe condition with respect to individuals lawfully

       on the premises. During this time, Texas Instruments Incorporated had a duty

       to warn individuals lawfully on the premises of unreasonable dangers present

       on the land of which Texas Instruments Incorporated was aware. Texas

       Instruments Incorporated was negligent and liable for its failure to exercise

       reasonable care with respect to the Plaintiff by allowing his continued

       exposure to radioactive materials as well as to other toxic and hazardous

       substances while the Plaintiff was lawfully present at the Forest Street

       Facility. Texas Instruments Incorporated was negligent and liable for its

       failure to warn the Plaintiff of the risks and hazards associated with his

       exposure to radioactive materials as well as other toxic and hazardous

       substances while the Plaintiff was lawfully present at the Forest Street

       Facility. Texas Instruments Incorporated was negligent and liable for its

       failure to take reasonable and prompt action to contain and clean up the

       radioactive materials as well as other toxic and hazardous substances present

       at the Forest Street Facility.

139.   Metals & Controls Inc. acquired the Forest Street Facility on or about January

       3, 1961 by deed recorded in the Taunton Registry of Deeds in Book 1376 at

       Page 300 from Texas Instruments Incorporated and owned the Forest Street

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    Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 33 of 40



       Facility until January 1, 1970. From January 3, 1961 to January 1, 1970,

       Metals & Controls Inc. owned the Forest Street facility. During this time, it

       was the duty of Metals & Controls Inc. to exercise reasonable care maintain

       the property in a safe condition with respect to individuals lawfully on the

       premises. During this time, Metals & Controls Inc. had a duty to warn

       individuals lawfully on the premises of unreasonable dangers present on the

       land of which Metals & Controls Inc. was aware. Metals & Controls Inc. was

       negligent and liable for its failure to exercise reasonable care with respect to

       the Plaintiff by allowing his continued exposure to radioactive materials as

       well as to other toxic and hazardous substances while the Plaintiff was

       lawfully present at the Forest Street Facility. Metals & Controls Inc. was

       negligent and liable for its failure to warn the Plaintiff of the risks and hazards

       associated with his exposure to radioactive materials as well as other toxic

       and hazardous substances while the Plaintiff was lawfully present at the

       Forest Street Facility. Metals & Controls Inc. was negligent and liable for its

       failure to take reasonable and prompt action to contain and clean up the

       radioactive materials as well as other toxic and hazardous substances present

       at the Forest Street Facility.

140.   Texas Instruments Inc. claims to acquire the Forest Street Facility on January

       1, 1970 because of its name change from Metals & Controls Inc. to Texas

       Instruments Inc. and owned the Forest Street property until December 31,

       1971. During this time, it was the duty of Texas Instruments Inc. to exercise

                                           33
	
    Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 34 of 40



       reasonable care maintain the property in a safe condition with respect to

       individuals lawfully on the premises. During this time, Texas Instruments

       Inc. had a duty to warn individuals lawfully on the premises of unreasonable

       dangers present on the land of which Texas Instruments Inc. was aware.

       Texas Instruments Inc. was negligent and liable for its failure to exercise

       reasonable care with respect to the Plaintiff by allowing his continued

       exposure to radioactive materials as well as to other toxic and hazardous

       substances while the Plaintiff was lawfully present at the Forest Street

       Facility. Texas Instruments Inc. was negligent and liable for its failure to

       warn the Plaintiff of the risks and hazards associated with his exposure to

       radioactive materials as well as other toxic and hazardous substances while

       the Plaintiff was lawfully present at the Forest Street Facility. Texas

       Instruments Inc. was negligent and liable for its failure to take reasonable

       and prompt action to contain and clean up the radioactive materials as well

       as other toxic and hazardous substances present at the Forest Street Facility.

141.   Texas Instruments Incorporated acquired the Forest Street Facility on

       December 31, 1971 through its merger with Texas Instruments Inc. and

       owned the Forest Street property until December 29, 2004. During this time,

       it was the duty of Texas Instruments Incorporated to exercise reasonable care

       maintain the property in a safe condition with respect to individuals lawfully

       on the premises. During this time, Texas Instruments Incorporated had a duty

       to warn individuals lawfully on the premises of unreasonable dangers present

                                         34
	
    Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 35 of 40



       on the land of which Texas Instruments Incorporated was aware. Texas

       Instruments Incorporated was negligent and liable for its failure to exercise

       reasonable care with respect to the Plaintiff by allowing their continued

       exposure to radioactive materials as well as to other toxic and hazardous

       substances while the Plaintiff was lawfully present at the Forest Street

       Facility. Texas Instruments Incorporated was negligent and liable for its

       failure to warn the Plaintiff of the risks and hazards associated with his

       exposure to radioactive materials as well as other toxic and hazardous

       substances while the Plaintiff was lawfully present at the Forest Street

       Facility. Texas Instruments Incorporated was negligent and liable for its

       failure to take reasonable and prompt action to contain and clean up the

       radioactive materials as well as other toxic and hazardous substances present

       at the Forest Street Facility.

142.   As a direct and proximate result of the Defendant’s negligence, the Plaintiff

       developed devastating, debilitating, and fatal cancers.

143.   When Defendant, Texas Instruments Incorporated, merged with Metals and

       Controls Corporation, Metals and Controls Inc., M & C Nuclear, Inc.,

       General Plate Company, Spencer Thermostat Company and Texas

       Instruments, Inc., it assumed all their liabilities and obligations in accordance

       with Mass. Gen. Laws c. 156B, § 80.




                                          35
	
    Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 36 of 40



VIII.          EIGHTH CLAIM FOR INJURY RESULTING FROM
              INJURY NOT CONTEMPLATED UNDER WORKERS
              COMPENSATION ACT
144.    The preceding paragraphs are incorporated herein by reference as though set

        forth here in their entirety.

145.    The Defendant, despite clear knowledge of the Plaintiff’s exposure to

        radiation, intentionally concealed that exposure and made no attempt to warn

        the Plaintiff. These acts by the Defendant were both intentional and

        unjustified.

146.    The Defendant did not inform the Plaintiff of his exposure to enriched

        uranium and other radioactive materials and toxic chemicals at the time of

        his exposure or at any date reasonably soon thereafter, thereby exacerbating

        the health consequences and thus the Plaintiff was restrained by the

        Defendant from obtaining lifesaving medical treatment.

147.    The Defendant did not make adequate attempts to reach out to the Plaintiff

        to inform him of his exposure to enriched uranium and other radioactive

        materials, thereby exacerbating the health consequences and thus the

        Plaintiff was restrained by the Defendant from obtaining lifesaving medical

        treatment.

148.    The Defendant sold the Forest Street Facility and manufacturing complex in

        2006 but has never made adequate attempts to contact the Plaintiff or his

        family members to disclose the Plaintiffs exposure to radioactive materials

        or other substances.


                                         36
	
      Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 37 of 40



149.    As a direct result of the Defendant’s wanton and willful conduct of

        intentionally concealing the Plaintiff’s exposure to radiation and its harmful

        and fatal effects, and the mounting number of former employees of the

        Defendant diagnosed with cancer, the Plaintiff was effectively retrained from

        seeking lifesaving medical treatment. This type of injury by an employer is

        not one contemplated under the Workers Compensation Act and is an

        interference with the Plaintiff’s freedom and right to appropriate medical

        care.

150.    As a direct result of this restraint, the Plaintiffs did not receive the necessary

        medical treatment in a timely manner that would have helped prevent,

        mitigate, or cure the myriad diseases and cancers to which the Plaintiff has

        been subjected.



IX.                   DAMAGES

                                 All Claims for Relief

151.    As a result of his exposure to radioactive contaminants and other toxic and

        carcinogenic substances, his being prevented from seeking medical

        assistance, and as a consequence of have contracted cancer, the Plaintiff

        suffered devastating injuries and losses, including, but not limited to

        a.      Development of cancer;

        b.      Medical treatment and costs associated therewith;

        c.      Future medical treatment and costs associated therewith;

                                            37
	
    Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 38 of 40



      d.    Diminished life expectancy;

      e.    Lost opportunity for earlier diagnosis and treatment of his injuries had

            the Plaintiff had knowledge of their exposure to radioactive

            contaminants and other toxic and carcinogenic substances and

            dangers associated therewith;

      f.    Lost opportunity for cure of their injuries had the Plaintiff had

            knowledge of his exposure to radioactive contaminants and other

            toxic and carcinogenic substances and dangers associated therewith;

      g.    Loss of availability of treatment modalities had the Plaintiff had

            knowledge of his exposure to radioactive contaminants and other

            toxic and carcinogenic substances and dangers associated therewith;

      h.    Past pain and suffering;

      i.    Future pain and suffering;

      j.    Past mental anguish;

      k.    Future mental anguish;

      l.    Past lost earnings;

      m.    Future loss of earnings and earning capacity;

      n.    Disfigurement;

      o.    Humiliation;

      p.    Embarrassment;

      q.    Out-of-pocket costs;

      r.    Loss of life's pleasures;

                                         38
	
    Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 39 of 40



      s.    Loss of companionship; and

      t.    Loss of consortium.




                                    39
	
     Case 1:16-cv-10358-DPW Document 27 Filed 11/21/16 Page 40 of 40




                              PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays this Court

1.     Award Plaintiff the sum of Ten Million Dollars ($10,000,000) as

       compensatory damages and Fifty Million Dollars ($50,000,000) as punitive

       damages, as well as attorney's fees and costs; and

2.     That the Plaintiff be granted such other relief as the Court deems just and

       proper.

DEMAND IS HEREBY MADE FOR A JURY TRIAL ON ALL ISSUES.

                                            Respectfully submitted,
                                            /s/ Fiore Porreca
                                            Fiore	Porreca,	Esquire	
                                            BBO	#651019	
                                            Email:	pilawpc@gmail.com	
                                            	
                                            PI	Law	PC	
                                            184	North	Main	Street	
                                            Attleboro,	MA	02703	
                                            (401)	300-9189	
                                            Facsimile:	(401)	764-0138		


Dated: November 20, 2016

	
                                         Certificate of Service
I, Fiore Porreca, hereby certify that this Complaint filed through the CM/ECF system will
be served electronically to the registered participants as identified on the Notice of
Electronic Filing and paper copies will be served via First-Class U.S. Mail to those
indicated as non-registered participants on November 21, 2016.
/s/ Fiore Porreca
Dated: November 21, 2016




                                           40
	
